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     ABOUT
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     The Interactive Giving Fund is a donor advisory fund that is carrying on the charitable work of

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     the 501(c)3 nonpro t organization called Be Interactive.
     Every time the bass head community bought a ticket to a Bassnectar event, they were part of
     an e ort that raised hundreds of thousands of dollars to donate to nonpro ts and
     organizations who focus on justice, equality, and giving. They also invested countless hours of
     their own time into activism and participated in community service projects across the
     country.

     The goal of the Interactive Giving Fund is to inspire the empathic to make a positive impact
     through kindness, creativity, volunteering, and charity. We are motivated by ideas that
     promote goodwill and make a di erence in the lives of people.


     We welcome and encourage all feedback and look forward to future collaborations:
     https://interactivegivingfund.org/#contact




     Nancy Rubin, Executive Director


     Nancy Rubin has more than 35 years of experience as a senior executive and policy leader in
     health care, government and non-pro t organizations.
     As the Executive Director, she oversees the strategic planning, nancial management, policy
     implementation and grant review process at Interactive Giving Fund.

     As a longtime devotee and teacher of yoga and dance, Nancy has personally witnessed and
     believes in the power of the arts to unite communities and be a powerful force for good and
     positive change in the world.




     CONTACT
     We welcome and encourage all feedback and ideas for charitable causes:


     Name *


     First                                            Last


     Email *

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